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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Miami Division
CASE NO. 10-CV-21612 CMA/ALTONAGA-BROWN
PALADIN SHIPPING CO. LTD.
A Foreign corporation, and

ANATOLIY CHABAN, individually

Plaintiff/Judgment Creditor
VS. oo Lo

STAR CAPTIAL FUND, LLC, a F lorida Corporation,
Leon Goldstein, individually,

Defendants/Judgment Debtor

 

75 RETAIL ENTERPRISES, INC.,

a Florida Corporation,

“40 RETAIL CORPORATION,

a Florida Corporation,

CENTURY DRIVE RETAIL CORPORATION,
a Florida Corporation,
STERLINGTON RETAIL CORPORATION,
a Florida Corporation,

TEXARKANA RETAIL CORPORATION,
a Florida Corporation,

PINNACLE THREE CORPORATION, (FL)
a Florida Corporation,

PINNACLE THREE CORPORATION, (iL )
An inactive Illinois Corporation,

Supplemental Parties

 

MOTION TO SERVE BY PUBLICATION
Judgment Creditors, by and through its undersigned attorneys, moves for entry of an
Order authorizing them to serve Impleader Defendant, PINNACLE THREE CORPORATION

by publication and in support there states as follows:

PuILups, CANTOR, SHALEK & RUBIN, P.A.; TEL: (954) 966-1820 Fax: (954} 414-9309
PRESIDENTIAL CIRCLE, 4000 HoLLYwCoD BouLevarb, Surre 500-NORTH, HOLLYWOOD, FLORIDA 33021
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L. On August 23, 2013 this Court entered its Order impleading several third party
corporate defendants {(“Impleader Order”), including PINNACLE THREE CORPORATION.

2. All impleaded corporate defendants except PINNACLE THREE
CORPORATION have been personally served with the Court’s Order.

3, As is alleged in the Affidavit of Judgment Creditors’ counsel being filed
contemporaneously herewith, diligent : search and inquiry have been made to discover the office
address and registered agent for PINNACLE THREE CORPORATION and affiant has
determined that the registered agent is Judgment Debtor Leon Goldstein and the address is a
residence, 1445 Windjammer Way, Hollywood, FL, where Judgment Creditor previously had a
writ of execution carried out, and where Leon Goldstein does not reside.

4. Leon Goldstein is the sole officer/direetor of PINNACLE THREE
CORPORATION and is either: absent from the State; or cannot be found within the State; or
has concealed himself so that the Impleader Order cannot be served upon bim so as to o bind the
corporation. There is no person in the State of Florida upon whom service of process would bind
PINNACLE THREE CORPORATION.

MEMORANDUM OF LAW

Based on the foregoing, Judgment Creditors seek to serve the Impleader Order as
authorized by Florida Statutes 49.011 and 49.021 for service by publication. The Federal Rules
of Civil Procedure permit service to be completed in accordance with state law. Florida Statutes
section 49.021 Constructive Service provides, im relevant part, as follows:

Where personal service of Process or, if appropriate, service or process under s.

48.194 cannot be had, service of process by publication may be had upon any
party, natural or corporate, known or unknown.

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Federal Rules of Civil Procedure 4(e) and 4(h) together permit service to be completed in
accordance with state law. Florida Statutes 49.01 1 and 49.021 provide for constructive service
by publication where a person cannot be located in the State and/or conceals his or her
whereabouts. In accordance with above procedures and statutes, Judgment Creditors have filed
an affidavit of their counsel that establishes the due diligence and the elements to support service
of the Impleader Order by publication on PINNACLE THREE CORPORATION.

Judgment Creditors request entry of an Order to execute service of the Impleader Order
on PINNACLE THREE CORPORATION by publication in Broward County, Florida, wherein
Leon Goldstein, the registered agent and sole officer/director of PINNACLE THREE
CORPORATION was last known to be located. See Auto Owners Insurance Company v.
Emerald Star Casino and Resort tS, Inc., 2010 LEXIS Ad45 M™. D. Fla, January 8, 2010)(Court
allowed Plaintiff leave to execute alternative service 2 by publication to properly serve the
defendants concealing themselves.

Rule 7.1(a)(3) Compliance

] HEREBY CERTIFY that I conferred with counsel for Leon Goldstein and he does not
know where Leon Goldstein is and is not authorized to accept service on behalf of Pinnacle
Three Corporation.

PHILLIPS, CANTOR, SHALEK & RUBIN, P.A.
Attorneys for Plaintiffs/Judgment-Creditors
- 4000 Hollywood Boulevard
- Presidential Circle - Suite 500 North
- Hollywood, Florida 33021
‘Telephone: (954) 966-1820
- Faesimile: (954) 414-9309
By:___s/ Jeffrey B. Shalek
Gary S. Phillips, Esquire
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gphillips@phillipslawyers.com
Jeffrey B. Shalek, Esquire

Fla. Bar No. 996221
jshalek@phillipslawyers.com

 

Certificate of Service

I HEREBY CERTIFY that on October 15, 2013, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF. I also certify that the foregoing document was
served this day on: Francis X Sexton, Jr., Esq.. FOWLER RODRIGUEZ VALDES-FAULT,
Suite 801, 355 Alhambra Circle, Coral Gables, Florida 33134 and W. Barry Blum, Esq., Brett
Halsey, Esq., and Glen H. Waldman, Heller Waldman, P.L.. 3250 Mary Street, Suite 102,
Coconut Grove, Florida 33133, either via transmission of Notice of Electronic Filing generated
by CM/ECF or in some other authorized manner for those counsel or parties who are not
authorized to receive electronically Filing. .

By:___s/ Jeffrey B. Shalek
Jeffrey B. Shalek, Esquire

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